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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _________________________________
 DENNIS,
                                               CERTIFICATE OF SERVICE
              Plaintiff,
 v.                                            Case No. 19-cv-406-KAM-RER

 LOVELY BRIDE, LLC,

             Defendant.
 _________________________________

                           CERTIFICATE OF SERVICE

       The undersigned attorney, upon oath, hereby certifies that on April 25, 2019,
she caused a copy of the foregoing document, LETTER TO MAGISTRATE
JUDGE REYES, to be filed and served via the Court’s ECF system and
additionally sent by email upon counsel of record to Plaintiff’s Counsel at
Jshalom@jonathanshalomlaw.com.


                                                               Respectfully Submitted,


                                                                      Wendy Heilbut
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                                                        Lawyers for Innovators




      April 25, 2019

      The Hon. Ramon E. Reyes, Jr.
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East, Rm. N20
      Brooklyn, New York 11201

      Re:  Request for Pre-Motion Conference – Defendant’s Motion for Extension of
      Time

                  Dennis v. Lovely Bride, LLC, Case No. 19-cv-406-KAM-RER1

      Dear Hon. Judge Reyes,

      The Defendant, Lovely Bride, LLC (“Lovely Bride”), requests a pre-motion conference
      pertaining to its anticipated Motion for Extension of Time to Answer or Otherwise Plead.
      Lovely Bride seeks an additional 30 days to file an answer or motion to dismiss. The factual
      and legal bases for this request are:

      Factual Basis:
      The Plaintiff, Derrick Dennis (“Mr. Dennis”), filed this putative class action on January 21,
      2019. The case alleges Lovely Bride’s website violates the Americans With Disabilities
      Act and New York state civil rights law. On January 25, 2019, Mr. Dennis issued a
      summons using a previous business address for Lovely Bride. Mr. Dennis attempted to
      serve Lovely Bride at the previous address via a process server and, when no one was
      present to accept service, the process server left the summons taped to the door. It is
      obvious that Lovely Bride was not located at that address any longer. Instead, Lovely Bride
      could – and should – have been served via the New York Secretary of State.


      1   This matter is currently set for initial conference on May 2, 2019, at 10:30 am before Your Honor.


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      Nevertheless, on February 12, 2019, Mr. Dennis filed an executed affidavit of service,
      showing service at Lovely Bride’s former address, with the Court. However, Lovely Bride
      did not learn of the present case until March, 2019, when its owner received unsolicited
      outreach from lawyers and vendors wishing to engage the company in defense against
      the present suit. Lovely Bride asked a lawyer handling an unrelated corporate matter to
      research these inbound marketing calls and only then learned that a lawsuit had been
      filed. Jayaram Law was engaged as litigation counsel last week.

      Upon retention, the undersigned counsel filed an appearance for Lovely Bride on April 20,
      2019. Lovely Bride now petitions this Court for an additional thirty (30) days to answer Mr.
      Dennis’ Complaint or otherwise plead. This additional time will allow Lovely Bride to
      assemble necessary information and conduct the investigation needed to respond to the
      Complaint. This request is in good faith and not for delay, and the granting of this motion
      will not prejudice any party; it will merely allow Lovely Bride to adequately address the
      merits.

      Legal Basis:
      Federal Rule of Civil Procedure 6(b) governs the extension of time for filing a responsive
      pleading, and its application is within the discretion of the district court. Wesolek v.
      Canadair Limited, 838 F.2d 55, 58 (2d Cir. 1988) When a request is made under Rule
      6(b), the moving party must show cause as to why the Court should grant the extension.
      Davidson v. Keenan, 740 F.2d 129, 132 (2d Cir. 1984). Yet, an application for the
      extension of time under Rule 6(b)(1) is normally granted absent bad faith by the party
      seeking relief or prejudice to the adverse party. C. Wright, A. Miller, M. Kane, Federal
      Practice and Procedure § 1165 (2d ed. 1986). See also Kernisant v. City of New York,
      225 F.R.D. 422, 431 (E.D.N.Y. 2005).

      Because of a service attempt at its previous address, and despite any challenge to proper
      service, Lovely Bride has retained counsel who has appeared and now petitions the court
      to allow a reasonable time to respond to the Complaint. Cf Nicosia v. United States, No.
      11-CV-5069(JS)(GRB), 2014 U.S. Dist. LEXIS 89600, at *7-8 (E.D.N.Y. July 1, 2014)
      (finding no good cause to grant extension when plaintiff's counsel waited five months to
      move for additional time and only after defendant moved for dismissal). Here, Mr. Dennis
      has not moved for default and will not be prejudiced if the Court grants Lovely Bride’s
      Motion.

      Lovely Bride has shown good cause in support of its request of an additional thirty (30)
      days to file its answer or responsive pleading.

      Respectfully Submitted,


      Wendy Heilbut
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